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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MATTHEW GOMBERG,                                :          CIVIL ACTION
on behalf of himself and all others             :
similarly situated,                             :
                         Plaintiff,             :
                                                :
               v.                               :
                                                :
STATE AND LIBERTY CLOTHING                      :
COMPANY, LLC,                                   :
                 Defendant.                     :          NO. 23-cv-04639


                                          ORDER

       AND NOW, this 18th day of March 2024, it having been reported that the issues between
the parties in the above action have been settled (counsel letter attached as Exhibit A) and upon
Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil
Procedure of this Court, it is


       ORDERED that the above action is DISMISSED with prejudice, pursuant to the
agreement of counsel without costs.



                                                    BY THE COURT:


                                                    /s/ Chad F. Kenney
                                                    _________________________
                                                    CHAD F. KENNEY, JUDGE




Civ. 2 41.1(b) (3/18)
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                 EXHIBIT A
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From:             Tamara Grimm
To:               Chambers of Judge Chad F Kenney; david.glanzberg@gtlawpc.com
Cc:               Uganda Richardson

Subject:          RE: 23-cv-04639-CFK Gomberg v. State and Liberty Clothing Company, LLC
Date:             Monday, March 18, 2024 3:03:18 PM



CAUTION - EXTERNAL:


Good afternoon Ms. MacElderry,

The parties have reached a settlement in this matter. I anticipate counsel for Plaintiff will be filing a
Notice advising the Court of the settlement this afternoon.

Thank you,
Tamara


Tamara S. Grimm
Partner
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